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                  UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE


United States of America,
      Plaintiff

             v.                              Case No. 09-cr-77-01/02-SM

Renaury Ramirez Garcia and
Kelvin Garcia,
      Defendants

                                    ORDER


      Defendant Renaury Garcia’s motion to continue the trial is granted

(document no. 24). Trial has been rescheduled for the month of

December 8, 2009. Defendant Renaury Garcia shall file a waiver of speedy

trial rights not later than September 14, 2009. On the filing of such waiver, his

continuance shall be effective.

      The Court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendants in a speedy trial,

18 U.S.C. § 3161(h)(8)(B)(iv), in that failure to grant a continuance would

unreasonably deny the defendants the reasonable time necessary for effective

preparation taking into account the exercise of due diligence under the

circumstances.
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       Final Pretrial Conference is scheduled for November 24, 2009 at 3:30

p.m.

       Jury selection will take place on December 8, 2009 at 9:30 a.m.



       SO ORDERED.



                                     _________________________
                                       Steven J. McAuliffe
                                           Chief Judge


September 1, 2009

cc:    Kevin Sharkey, Esq.
       Adam Bernstein, Esq.
       Terry Ollila, AUSA
       U.S. Marshal
       U.S. Probation




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